






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00260-CV






Leslie Harris, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT

NO. 060436, HONORABLE CHARLES RAMSAY, JUDGE PRESIDING





M E M O R A N D U M  O P I N I O N


		Appointed counsel for appellant filed a notice of appeal on her behalf in March 2007. 
To date, no payment arrangements have been made for either the clerk's record or a reporter's
record, and the clerk of this Court has so notified the district clerk and appellant's counsel. 
The&nbsp;district clerk has advised us, and counsel concurs, that a hearing was held on May 1 on
appellant's request for waiver of costs on appeal, and that the district court found that appellant is
not indigent.  Appellant's appointed counsel has filed a motion to withdraw, citing the inability
to&nbsp;contact&nbsp;appellant.  

		We dismiss counsel's withdrawal motion, and instruct counsel to  present his motion
to the district court.  We abate the appeal and remand this cause to the district court for the purpose
of its consideration of counsel's withdrawal motion and whether appellant desires to pursue this
appeal.  The court shall make appropriate findings and recommendations, and a supplemental record
from this hearing, including any findings and orders and a transcription of the court reporter's notes,
shall be forwarded to the clerk of this Court not later than September 28, 2007.   


							____________________________________

							Bob Pemberton, Justice

Before Justices Patterson, Puryear and Pemberton

Abated

Filed:   September 7, 2007


